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Filing # 110858989 E-Filed 07/27/2020 04:25:57 PM

FORM 1.997. CIVIL COVER SHEET

The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of
pleadings or other documents as required by law. This form must be filed by the plaintiff or petitioner with the
Clerk of Court for the purpose of reporting data pursuant to section 25.075, Florida Statutes. (See instructions

for completion.)

 

I. CASE STYLE
IN THE CIRCUIT COURT OF THE FIFTEENTH 9 JUDICIAL CIRCUIT,,

IN AND FOR PALM BEACH COUNTY, FLORIDA

   

 

 

 

 

Case No.:
Judge:

AMERICAN BUILDERS INSURANCE COMPANY

Plaintiff
vs.
SOUTHERN OWNERS INSURANCE COMPANY
Defendant
eu ‘SS
I. | AMOUNT OF CLAIM A y/
Please indicate the estimated amount of the claim roundéd to°th enearest dollar $35,000

on ‘es OF
<>

f . “
ill. TYPE OF CASE __ (If the case fits more than one type of.case, select the most definitive category.) If the
most descriptive label is a subcategory (is indented under a broader category), place an x on both the main

  

category and subcategory lines. fo N
ts oe
Os Malpractice — other professional
0 Condominium O Other
& Contracts and indebtedness O sAntitrust/Trade Regulation
O Eminent domain O _sBusiness Transaction
O Auto negligence © Circuit Civil - Not Applicable
© Negligence — other O Constitutional challenge-statute or ordinance
O _ éBusiness govemance O Constitutional challenge-proposed amendment
QO =Businesstorts 1 Corporate Trusts
O  Environmental/Toxietort:,  __Discrimination-employment or other
QO iThird party indemnifigation O siInsurance claims
Q Construction defect ” C siIntetlectual property
O Mass tort “, Os LUbel/Stander
Ol Negligeritsecurity O Shareholder derivative action
ey tee
oO Nursing home negligence O Securities litigation
BL “Premises liability — commercial 0 sTrade secrets
fl~Premises liability — residential O Trust litigation
© Prodyets liability
C Real Property/Mortgage foreclosure © County Civil
O Commercial foreclosure 1 Small Claims up to $8,000
O Homestead residential foreclosure DO Ci
D_sNon-homestead residential foreclosure OD Replevins
Other real property actions QO sé victions
G Professional malpractice 1 Other civil (non-monetary)
O Malpractice — business
QO Malpractice — medical

 

Exynbt “4 "
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 2 of 52

IV.

Vi.

vil.

Vill.

COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes D) No

REMEDIES SOUGHT (check all that apply):
>) Monetary;
Non-monetary declaratory or injunctive relief;

Q
O) Punitive

   

NUMBER OF CAUSES OF ACTION:
(Specify)

|—

IS THIS CASE A CLASS ACTION LAWSUIT?
1] Yes
& No

& No
0 Yes-

h) Yes LY

O No

 

 

Ba SAL f
<

| CERTIFY that the information | have prvigegn this cover sheet is accurate to the best of my knowledge and belief, and

Signature:

FL Bar No.: 796573 ™

that | have read and will comply with the réquirements of Florida Rule of Judicial Administration 2.425.

 
 

s/ Richard M Benmubi”= —
Attorney or party

 

(Bar numbéRiigattomney)
Richard.M Benrubi
(Tyg € Or printname)

Date: Wee 2020

Y
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 3 of 52
Filing # 110858989 E-Filed 07/27/2020 04:25:57 PM

IN THE CIRCUIT COURT THE FIFTEENTH JUDICIAL CIRCUIT,
IN AND FOR PALM BEACH COUNTY, FLORIDA

AMERICAN BUILDERS
INSURANCE COMPANY, CASE NO.:

Plaintiff,

Vs.

SOUTHERN OWNERS
INSURANCE COMPANY,

Defendant.
COMPLAINTS

Plaintiff, AMERICAN BUILDERS INSURAN CE COMPANY, by and through its
undersigned counsel, hereby sues the Defentiant SOUTHERN OWNERS INSURANCE
COMPANY, and all facts being extant an on cial hereto alleges:

GENERAL ALLEGATIONS

1. This is an action for equitable subrogation which requests damages in excess of
Thirty Thousand ($30,000.00) Dollars, exclusive of attorneys’ fees, interest and costs.

2, At®all material times, Plaintiff, AMERICAN BUILDERS INSURANCE
COMPANY ; Mreinafter “ABIC”), is a Delaware corporation with its principal place of
busi in Georgia, and is authorized to do business in the State of Florida.

3 At all material times, Defendant, SOUTHERN OWNERS INSURANCE
COMPANY, (hereinafter “SOIC”), is a Florida corporation with its principal place of business

in the State to Michigan, and is authorized to do business in the State of Florida.
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 4 of 52

ABIC v SOIC
Complaint

THE CONSTRUCTION ACCIDENT
4. On April 1, 2019, Ernest Guthrie “Guthrie” was severely injured when he fell
from the roof of a home under construction while removing a decorative window (“The
Project”).
5. Beck Construction was involved as a subcontractor on the Pit at

S

Garp entry to Guthrie,

C

3243 Tala Loop, Lot 97 in Longwood, Florida.

  
    
 

6. Beck Construction subcontracted the interior framing and

a carpenter by trade.

7. Beck Construction hired Guthrie throug Dror Ernest Guthrie LLC

(“Guthrie LLC). ev

8. At all material times, Guthrie y employee of Guthrie LLC and had

exempted himself from Florida’s Wor. ensation Act.
9. On March 29 ,201 us Beck, owner of Beck Construction, was advised

that the homeowner did not ry decorative windows located on either side of the roof.
10. Beck we to remove the decorative windows.

11. aK injured when he fell off the roof while sawing off the decorative

window. QS

12. At all material times, Beck Construction maintained a Commercial General

THE INSURANCE POLICIES

Liability (“CGL”) insurance policy of $1 million with ABIC (Policy No. PKG 024736201), with
effective dates from August 31, 2018 to August 31, 2019. (See ABIC policy attached hereto as

Exhibit “A”).

Page 2 of 7
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 5 of 52

ABICv SOIC
Complaint

13. At all material times, Ernest Guthrie LLC had a Commercial General Liability
insurance policy with limits of $1 million with SOIC (Policy No. 182382-72659139-19), with
effective dates from February 22, 2019 to February 22, 2020. (See SOIC policy attached hereto
as Exhibit “B”).

14. Beck Construction was named as an additional insured under aac policy
issued to Guthrie LLC. (Certificate of Insurance attached hereto as Exhibit qt

ABIC TENDERS BECK CONTRUCTION’S DE O SOIC
15. Guthrie, through his counsel, Stuart Cohen, asserted aneéligence claim against

Beck Construction for the injuries sustained by eg?

16. Beck Construction tendered its d we Guthrie’s claim to ABIC, who

   

ito Guthrie’s claim.

   
 

accepted coverage and began an investigatiox

yr sent a thirty (30) day time-limit demand to

17. On September 5, 2019,
ABIC, demanding that ABIC te oe ne Million Dollar ($1,000,000.00) policy limits to
Guthrie in exchange for a nigeeg

18. By letter ue 12, 2019, ABIC tendered the defense and indemnity
tr

I claims against Beck Construction.

obligation of Beck(Constrtction to Defendant, SOIC, Guthrie LLC’s liability insurer, asserting
that, due oGeronstruction’s additional insured status, the SOIC policy is primary; non-
contri and does not share concurrent obligations with the ABIC policy. (See Exhibit
“D” attached hereto).

19. ABIC’s September 12, 2019 letter enclosed Mr. Cohen's September 5, 2019 time-
limit demand letter together with the Certificate of Insurance reflecting Beck Construction’s

additional insured status.

Page 3 of 7
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ABIC v SOIC
Complaint

20. On November 18, 2019, Mr. Cohen issued a revised settlement demand after
learning that Beck Construction maintained an excess liability policy with Evanston
Insurance Company with One Million Dollar ($1,000,000.00) limits.

21. Specifically, Mr. Cohen’s November 18, 2019 demand letter stated:

 

assuming that there are no other excess of umbrella coverages available to Beck

Construction.”

22. By letter dated November 25, 2019, SOIC @ furnish Beck Construction a
r

conditional defense but asserted that, “there << easons that there may not be

coverage under the [SOIC] policy for some Ais
S

Mr. Guthrie.” (See Exhibit “E” ne
23. Given SOIC’s refus nditionally accept coverage for Beck Construction

and the significant injuries Kes) by Guthrie; the substantial medical expenses incurred;

the claims and/or damages alleged by

and those to be incurre future, ABIC timely tendered its $1,000,000.00 policy limits to
Guthrie in ore prot Beck Construction from a certain judgment well in excess of the
policy li KS
Evanston did likewise by tendering its $1,000,000.00 limits of excess coverage
for the same reasons.
25. SOIC was well aware that a verdict in Mr. Guthrie’s case could easily exceed
their policy limits, given the injuries and the economic damages alleged.

26. Given the alleged liability, the catastrophic injuries and the future medical care

Page 4 of 7
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 7 of 52

ABIC v SOIC
Complaint

that Mr. Guthrie was projected to need for the remainder of his life, the demand to settle for
$1 million was reasonable, and a reasonably prudent person when faced with the prospect of

paying a judgment in excess of that sum, would do so under all the circumstances

27. Despite Mr. Guthrie’s catastrophic injuries and his projected future medical

care, SOIC never made any offer to settle Guthrie’s claim. an,

28. By letter dated December 18, 2019, from ABIC to SOIC, A enclosed the

proposed release for SOIC’s review and advised: Cy
f

“Please be advised that Builders will look to SOIC ayment of its policy
limits under well-settled principles of equitable subrogation recognized under
[rSured coverage available to

ch should provide first-dollar

   
  
  
   

Florida law based upon the primary addi
Beck Construction under the SOIC Poli

responsive indemnity in respons th
Exhibit “F” attached hereto).
29. ABIC was forced to unsel to protect its own interests after being

notified of the claim, and paid “a such services.

30.  ABIC was forc e counsel to represent it in this action and is obligated

aintiff’s present demand. (See

to pay its attorneys a ai fee for their services on a contingency fee basis.

31. Pts to Chap. 627.428, Fla. Stat., ABIC is entitled to recover the legal fees

  

ging this action.

COUNT I
Common Law Bad Faith - Equitable Subrogation

Plaintiff adopts and re-alleges paragraphs 1 through 31 above.
32. SOIC acted in bad faith when it failed to settle Guthrie’s claim against its

insured when it could and should have done so had it acted fairly and honestly toward its

Page 5 of 7
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 8 of 52

ABIC v SOIC
Complaint

insured, Beck Construction, and their liability carrier, ABIC.

33. SOIC acted in bad faith by failing to promptly settle Guthrie’s claim when the
obligations to settle the claim became reasonably clear.

34, SOIC did not act reasonably when it failed to settle Guthrie’s claim within its

policy limits, thereby exposing its insured, Beck Construction and its liability sae ABIC,

to an excess judgment. RQ

35. SOIC acted in bad faith thereby exposing its insure nstruction and

ABIC to an excess judgment by failing to do the following < including but not limited to:

a. Asserting defenses to coverage with little or*no or factual basis;
b. Failing to agree to unconditionally Ay indemnify Beck Construct for
Guthrie’s claim;

c. Failing to accept the demand Ng Guthrie’s claim within SOIC’s limits

 
     
 

pursuant to the offers conye

d. Failing to act in its insured,B

best interest and instéad acting in its own best interest;
e. Failing to wteagin pe faith to make any reasonable or sufficient settlement

offers in fort to resolve these claims; and
f. Failig to attempt in good faith to enter into settlement negotiations in an effort

Sy this claim.

36, direct and proximate result of SOIC’s bad faith, ABIC was damaged as it
was for O pay money it should not have had to pay, or paid an amount greater than it
would have had to pay if SOIC had acted in good faith, including amounts it paid counsel to
protect its interest in the underlying lawsuit.

37. Plaintiff is equitably subrogated to all rights its insured, Beck Construction, has

for SOIC’s bad faith, under Florida law.

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ABIC v SOIC
Complaint

WHEREFORE, Plaintiff, AMERICAN BUILDERS INSURANCE COMPANY,
demands entry of a judgment against Defendant, SOUTHERN OWNERS INSURANCE
COMPANY, for damages, plus pre-judgment interest thereon, together with “ award of

attorneys’ fees and costs and such further relief as the Court deems me

DEMAND FOR JURY TRIAL CS

Plaintiff demands a trial by jury of all issues triable as a mat right by a jury.

DATED this 27th day of July, 2020.
My: LAW, P.A.

4 rum Way, Suite 600
Palm Beach, FL 33401
hone: (561) 296-3963
Fax: (561) 478-3111
Email: RBenrubi@benrubilaw.com
&H Secondary: cgarcia@benrubilaw.com
( ) Counsel for Plaintiff

By: 4/ Richard M. Benrubi
RICHARD M. BENRUBL ESO.
Florida Bar No.: 796573

 

 

 

oS

Page 7 of 7
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 10 of 52

INSURED
MAILER PAGE
Reference: PKG 0247362 01
BECK CONSTRUCTION OF CENTRAL FLORIDA INC
3402 HOLLIDAY AVE

APOPKA, FL 32703 Q

MAILER PAGE
EXHIBIT "A"
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 11 of 52

Builders
Insurance
| Group™

The following information is provided in accordance with applicable state and federal laws and
regulations. No action on your part is necessary.

PRIVACY NOTICE OF THE BUILDERS INSURANCE GROUP COMPANIES

  
 
 
  
  
  
  

to as “Builders Insurance Group.”

This privacy policy does not apply to your relationship with other financial
as your insurance agent or broker, who are not part of the Builders |

them to access.
What categories of information about you do we collect?

We may collect the following categories of nonpublic perse
following sources: <j

» Information about you that you provide to uson PBlieations for our products or services
‘élaphone ‘number, income, assets, insurance

policies, social security numbers, payrolyif ation, and accounts with others;

xs Information about your transactio xperiences with us, our affiliates and
nonaffiliated third parties, such as insurance coverages, claims, loss or other
transaction history, premium pay S3 an

  

  
 

We may disclose all of the personal ‘information that we collect, as described above, to our
affiliates and nonaffiliated third)parties as required or permitted by law. In some cases, this
means that we can disclose information about you to certain third parties without your
authorization.

of your information?

   

How do we eotualh the confidentiality and securi

   

We restrict, ess to’your nonpublic personal information in our records to our employees who
need to kn6y at information to provide our products or services to you, and for other reasons
required 9 ‘pennitted by law. We maintain physical, electronic and procedural safeguards to
guard theice fidentiality and security of your nonpublic personal information in our records, Our
ees who violate our privacy policy are subject to disciplinary action.

  
   
  

Builders Insurance Group follows these privacy practices even when a customer relationship no
longer exists.

You have the right to obtain access to certain types of information about you in our records and
to request correction of such information if you feel it is inaccurate. We would be pleased to tell
you about our policies and procedures regarding the privacy of your nonpublic personal
information. Please contact us in writing at Builders Insurance Group, P.O. Box 723099, Atlanta
Georgia 31139-0099 regarding our privacy notice.

BIG PRVN 05 15
EXHIBIT "A"
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 12 of 52
Builders

Insurance
| Group™

How To File A Claim

Policyholder Responsibility: nl,

As soon as you are notified of the loss, immediately contact
Builders Insurance Group using one of the following ae Gory

  
     

> Report via Intemet: www.bldrs.com and click on "File a(Claim).
> Call 1-800-883-9305, listen to prompts, and dial 27)

reporting (please advise the intake specialist
concerns regarding the validity of the claim)

> E-mail: firstreport@bldrs.com

Fax: 678-631-3409 &
Builders Insurance Gro Borenstein

> Builders Insuranc | prepare the state required First Report
of Injury on Wi Ss d forward a copy to you for your records.

> Builders Insur oup will assign a claims adjuster to handle the
loss and contact you for additional details.

  
 
 

 

additional information regarding the loss such as:
ical bills, medical reports, legal forms, court orders, etc., please
s them to:

CY Builders Insurance Group

Claims Department
PO Box 723099
Atlanta, GA 31139-0099

BIGCL PHN E 05 15
EXHIBIT "A"
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 13 of 52

Builders
Insurance
| Group”

Como Presentar Una Reclamacion

Responsabilidad del Titular:

  

Tan pronto como se le notifique de la pérdida, comuniquese inmediatamente con Bui p
Insurance utilizando uno de los siguientes métodos:
> Informe a través de internet: www.bldrs.com y haga clic en "Pr nt r’Una
Reclamaci6n". ’
> Llame 1-800-883-9305, escuche las indicaciones, y marq Are asistencia
24/7 para reportar su pérdida (por favor avise ale ista en el consumo si
tiene alguna duda sobre la validez de la repianacid
> E-mail: firstreport@bldrs.com
> Fax: 678-631-3409
Responsabilidad de Builders Ss roup:
> Builders Insurance RP rara el Primer Informe de Lesién requerido por el

estado sobre las per Compensacion a los Trabajadores y enviara una
copia para sus feégistro

> Builders Insuran oup le asignara un ajustador de seguros para manejar la
pérdida ee con usted para obtener mas detalles.

> Si Fétibe informacion adicional acerca de la pérdida, tales como: gastos médicos,
i es médicos, formas juridicas, las ordenes judiciales, etc, por favor envielas

Cy Builders Insurance Group
Departamento de Reclamo

PO Box 723099
Atlanta, GA 31139-0099

BIG CL PHN $ 05 15
EXHIBIT "A"
 

  

ase eee eM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 14 of 52
ulders

Insurance
Group™

BUILDERS INSURANCE GROUP
GENERAL LIABILITY SUPPLEMENTAL APPLICATION (Florida)

CPP
TRADE CONTRACTOR

All information on this application and the accompanying ACORD application must be completed. Both applications must be signed by the
applicant and the producer.

 

Proposed Effective Date 08/31/2018 Today's Date 09/05/2018 A
DBA Name (This is the name by which we will refer to this account) a

Legal Name (If different) BECK CONSTRUCTION OF CENTRAL F

 

 

Policy Number PKG 0247362 01

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Has any owner or officer of this company ever declared bankruptcy? Yes No . If “yes” pleaSe provi e following details:
Date Filed Amount Filed Chapter? 7 11 13 Attach documents Verfyi court's final disposition.
PROPERTY DAMAGE $250. $500. $75 $1000. Other
DEDUCTIBLE 0 C
e

AFFIDAVIT: 1, the Beeeianee hereby certify fead, understand, and certify the validity of the statements and information included in
and made a part of this application. | also agree to’ maintain and make available to the Company applicable ee records, and to ony with all
applicable laws, orders, rules, and regul s relating to the welfare, health, and safety of employees. | further agree to comply with all
reasonable recommendations made by th ny with regard to same.

Owner/Officer’s Signature Producer's Signature

Owner/Officers Nam Producer's Name (Print)

Agency Name (Pri LACKADAR INSURANCE AGENCY INC

F

CPPT

SU AP FL 05 15 EXHIBIT "A"
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 15 of 52

BUILDERS INSURANCE GROUP

ELECTION OR REJECTION OF TERRORISM INSURANCE COVERAGE

COMMERCIAL PACKAGE POLICY

Named Insured: BECK CONSTRUCTION OF CENTRAL FLORIDA INC Policy Number: PKG 0247362 O1

 

Commercial Property
| hereby elect to purchase Terrorism coverage for an additional premium charge.

| hereby reject Terrorism coverage. | understand that | will not be covered for lo rising from acts
of terrorism.

Policyholder/Applicant Signature an QY

 

 

 

General Liability

 

| hereby elect to purchase Terrorism coverage for an addité premium charge.

Final Premium to be determined at audit. A
| hereby reject Terrorism coverage. | understand ilffiot be covered for losses arising from acts
of terrorism.

Policyholder/Applicant Signature &Y

Aa

Inland Marine Y
| hereby elect to purchase Térrorism Coverage for an additional premium charge.

| hereby reject Y coverage. | understand that | will not be covered for losses arising from acts

 

 

 

of terrorism.

      
  

Policyholder/Applicant 2 ture

 

A
Hay:

 

Crime anc_Fi errorism coverage is not available under the Crime and Fidelity Coverage Parts of this
Policy. Therefore, there is no offer to accept or reject terrorism coverage under the Crime and Fidelity Coverage
Parts of this Policy. The Terrorism Risk Insurance Extension Act of 2005 does not require that insurers offer
coverage for certified acts of terrorism and there is no federal participation for a loss involving such acts.

 

Policyholder/Applicant Signature

 

 

 

Date

CPP Terr Supp! 03/10
EXHIBIT "A"
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 16 of 52
Builders
Insurance
[ Group™

POLICY NUMBER: PKG 0247362 01

 

INSURED: BECK CONSTRUCTION OF CENTRAL FLORIDA INC

      

American Builders Insurance Com

A Stock Company
Post Office Box 723099
Atlanta, Georgia 31139-0099

COMMERCIAL PACKAGE XS

For: BECK CONSTRUCTION OF CENTRAL FLORIDA INC y: Blackadar Insurance Agency Inc
3402 HOLLIDAY AVE AY 1436 N. Ronald Reagan Blvd.

APOPKA, FL 32703 Q Longwood, FL 32750
IN WITNESS WHEREOF, we have Si policy to be executed and attested, and, if
t

required by State law, this policy Shall be valid unless countersigned by our authorized
representative.

For Inquiry purposes, coverage information and complaint assistance, please contact your
agent or call:

  

 

1-800-883-9305

or

678-309-4000

PKG POL JAC 05 15 EXHIBIT "A"
Case 9:20-cv-81357-WM

Builders
Insurance
Group™

 

Atlanta, Ga. 31139-0099

Document 1-1 Entered on FLSD Docket 08/20/2020 Page 17 of 52

American Builders Insurance Company
P.O. Box 723099

COMMON POLICY DECLARATIONS

Policy Number PKG 0247362 01
Transaction Type RENEWAL DECLARATION

Renewal of PKG 0247362
Audit Type ANNUAL

 

Named Insured and Mailing Address

BECK CONSTRUCTION OF CENTRAL FLORIDA INC
3402 HOLLIDAY AVE

APOPKA, FL 32703

 

 

Agent Name and Mailing Address

Blackadar Insurance Agency Inc
1436 N. Ronald Reagan Blvd.
Longwood, FL 32750

  
 

 

 

 

 

 

| Business Description: Trade Contractor - Residential

 

 

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ACL Tl

AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS

   
   

 

 

Commercial Property Coverage Part

  
 

Commercial General Liability Cov

Includes Extra Coverage
Commercial Inland Marine Co art
Crime and Fidelity cor

 

THIS POLICY CONSISTS OF THE FOLLOWING COVE GERARTS FOR WHICH A PREMIUM IS |
INDICATED. THIS PREMIUM MAY BE SUBJECT TO TMENT

Total

Taxes/Surcharges (If Applicable)

Premium

$ 0.

00

$ 8,978.00

$ 1,829.00
00

$ 10,807.00

.00

 

Forms Applicable toall Coverage Parts: See Attached Forms Inventory Schedule |

 

This Common Policy Declarations and the Coverage Declarations, together with the Common Policy Conditions,
Coverage Part (s), Coverage Form (s) Forms and Endorsements, if any, issued, complete the above numbered policy.

Countersigned this 05 Day of September, 2018

By.

Authorized Representative

COMMON DEC 05 15

EXHIBIT "A"

Includes copyrighted material of the Insurance Services Office, Inc. with its permission
Case 9:20-cv-81357-WM Document 1-1 Entered on, 5h PRepakehereGeselicyage 18 of 52

American Builders Insurance Company
A Stock Company

P.O. Box 723099

Atlanta, GA 31139-0099

ORMS INVENTORY

 

Policy Number: PKG 0247362 01

 

Named Insured: BECK CONSTRUCTION OF CENTRAL F

 

 

Agent: BLACKADAR INSURANCE AGENCY INC 0001939

 

FORMS INVENTORY

Policy Level Forms
BIG PRVN (5/15) Privacy Notice

    
   

COMMON DEC (5/15) Common Policy Declarations
IL0003 (9/08) Calculation Of Premium

IL0017 (11/28) Common Policy Conditions
ILPOO1 (1/04) US Treasury Notice

PKGPOLJAC (5/15) Policy Jacket Page

General Liability Forms

GL DEC (5/15) GL Declarations Page QR
CGL TOC FL (8/15) CG0001 Table of Contents QC)
cGoo001 (4/13) Comml Gen Liab Coverage Form
BIG GLECET (8/14) GL Extra Coverage Endorsement
CG0220 (3/12) FL-Changes NonRenewal & Canc
CG03 00 (1/96) Deductible Liability Insurance
CG2101 (11/85) Exclusion-Athletic/Sports Part
CG2106 (5/14) Excl-Access or Discl of Info
CG2109 (6/15) Excl-Unmanned Aircraft

CG2116 (4/13) Excl-Designated Profes.Se
CG2117 (7/98) Excl-Movement of Bldgs/Sts
CG2146 (7/938) B3

CG2147 (12/07)

CG2152 (4/13)

CG2165 (12/04)

CG2166 (6/15)

CG2167 (12/04)

CG2170 (1/15)

CG2186 (12/04)

CG2196 (3/05) -Related Excl
CG2233 (4/13) Excl +Testi er Consult.E&O

 

CG2234 (4/13) Excl - r.Mgmt E & O

cl-Engineers,Arch. Surv.
ontractors Prof Liab

Excl-Real Est Agents & Brokers

Amndmnt-Pers Inj & Ad Inj Def

Amend Insd Contract Definition

Project Aggregate Limits

Asbestos Exclusion

Condominium Exclusion

Care, Custody and Control

Copyright Infringement

Excl - Designated Work

CG2243
CG2279
CG2301
CG2413
CG2426
CG2503

 
    
  
  

Prof

GLEICD (1/07) Expansion of Insured Contract
GLFB (1/09) Fungi & Bacteria

GLFWE (1/07) Faulty, Defective & Poor Work
GLLX (10/11) Lead Exclusion

GLPCO (6/15) Excl-Prior Completed Operation
GLRFWE (4/08) Residential Faulty Work Excl
GL-KDW (10/13) Exel-Contaminated Drywall
IL0021 (9/08) Broad Form Nuclear Energy Excl
IL0985 (1/15) Terrorism Disclosure

Inland Marine Forms

IM C DEC (5/15) Comml Inland Marine Cov Dec

Issued Date: 09/05/2018 INSURED COPY

EXHIBIT "A"

 
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American Builders Insurance Company FORMS INVENTORY
A Stock Company Policy Number: PKG 0247362 01
P.O. Box 723089 Named Insured: BECK CONSTRUCTION OF CENTRAL F
Atlanta, GA 31139-0099 -
Agent: BLACKADAR INSURANCE AGENCY INC 0001939

 

 

 

FORMS INVENTORY

Cc E DEC (5/15) Cont Equip/Emp Tools Cov Dec
CIM TOC FL (6/15) CM0001 Table of Contents
CMO00L (9/04) ComlL Inland Marine Conditions
CMOLOL (11/85) FL Changes - Warranties

CM0116 (2/12) Florida Changes - Loss Payment
IHO068 (12/13) Contract Equip Covg Form
IH6801 (12/00) Tools Cloths Belong Emps

IMMD (2/15) Excl-Mysterious Disappearance
ILOL75 (9/07) Florida Chg-Legal Act Agnst Us
IL0255 (3/16) Florida Chg-Cane & Nonrenewal SS
TL0935 (7/02) Exc of Certain Cmpter Rel Loss
ILO952 (1/15) Cap on Losses from Terrorism
IL0985 (1/15) Terrorism Disclosure

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American Builders Insurance Company SUB-LOCATION SCHEDULE
A Stock Company Policy Number: PKG 0247362 01
P.O. Box 723099

 

Atlanta, GA 31139-0099 Named Insured: BECK CONSTRUCTION OF CENTRAL F

 

 

Agent: BLACKADAR INSURANCE AGENCY INC 0001939

 

 

SUB-LOCATION ADDRESS SCHEDULE

Prem # 1 Bldg # a
OFFICE

0

ORANGE, 486

EXHIBIT "A"
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American Builders Insurance Company
A Stock Company

P.O. Box 723099

Atlanta, GA 31139-0099

NAMED INSURED SCHEDULE

 

Policy Number: PKG 0247362 01

 

Named Insured: BECK CONSTRUCTION OF CENTRAL F

 

 

Agent: BLACKADAR INSURANCE AGENCY INC

0001939

 

NAMED INSURED SCHEDULE

Named Insured
BECK CONSTRUCTION OF CENTRAL F

Issued Date: 09/05/2018

INSURED COPY

EXHIBIT "A"

 
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IL 00 03 09 08
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CALCULATION OF PREMIUM

This endorsement modifies insurance provided under the following:

CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
COMMERCIAL AUTOMOBILE COVERAGE PART

COMMERCIAL GENERAL LIABILITY COVERAGE PART
COMMERCIAL INLAND MARINE COVERAGE PART

COMMERCIAL PROPERTY COVERAGE PART

CRIME AND FIDELITY COVERAGE PART

EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
EQUIPMENT BREAKDOWN COVERAGE PART

FARM COVERAGE PART

LIQUOR LIABILITY COVERAGE PART

MEDICAL PROFESSIONAL LIABILITY COVERAGE PART

OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERA
POLLUTION LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE*RA
RAILROAD PROTECTIVE LIABILITY COVERAGE PART

The following is added:
The premium shown in the Declarations was

computed based on rates in effect at the time the
policy was issued. On each renewal, continuati
or anniversary of the effective date of this polity,

we will compute the premium in accordan

our rates and rules then in effect.

>
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IL 00 03 09 08 © ISO Properties, Inc., 2007 Page 1 of 1
Wolters Kluwer Financial Service¢_ptfy|faim Farms ™
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 23 of 52

IL 00 17 11 98

COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation

1. The first Named Insured shown in the Dec-
larations may cancel this policy by mailing or
delivering to us advance written notice of
cancellation.

2. We may cancel this policy by mailing or de-
livering to the first Named Insured written
notice of cancellation at least:

a. 10 days before the effective date of can-
cellation if we cancel for nonpayment of
premium; or

b. 30 days before the effective date of can-
cellation if we cancel for any other
reason.

3. We will mail or deliver our notice to the first
Named Insured’s last mailing address known
to us.

4. Notice of cancellation will state the effective

date of cancellation. The policy period will 2

end on that date.

first Named Insured cancels, the refti
be less than pro rata. The cancellaf
effective even if we have not ma
a refund.

6. If notice is mailed, proof 9& maj
sufficient proof of notice. “S
¥

   

B. Changes

This policy containg“all thé,agreements between
you and us congathing the insurance afforded.
The first Named’ Instied shown in the Declara-
tions is auth#rizeg Make changes in the terms
of this th our consent. This policy's
bet=amended or waived only by
issued by us and made a part of this

  

  
  
 
 
 

C, Examination Of Your Books And Records

We may examine and audit your books and
records as they relate to this policy at any time
during the policy period and up to three years
afterward.

BD. Inspections And Surveys
1. We have the right to:

a. Make inspections and surveys at any
time;

IL 00 171198

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b. Give you reports on the conditions we
find; and

c. Recommend changes.
2. Weare not obligated to make any inspections,

  
    

such actions we do unde
insurability and the premi
We do not make safe

 
   
   
 

Hspections. We do
f sthe duty of any
person or organiz y’ provide for the
health or safety ofiworkefs or the public. And
pfant thateconditions:

  
 
 
 
       
   
 
 
  
 
 
  
   

graphe 1. and 2. of this condition apply
ny to us, but also to any rating, ad-
rate service or similar organization

” Paragraph 2. of this condition does not apply
to any inspections, surveys, reports or recom-
mendations we may make relative to certifi-
cation, under state or municipal statutes, or-
dinances or regulations, of boilers, pressure
vessels or elevators.

.» Premiums

The first Named Insured shown in the Dec-
larations:

1. Is responsible for the payment of all
premiums; and

2. Will be the payee for any return premiums we
pay.

. Transfer Of Your Rights And Duties Under This

Policy

Your rights and duties under this policy may not
be transferred without our written consent except
in the case of death of an individual named
insured.

If you die, your rights and duties will be
transferred to your legal representative but only
while acting within the scope of duties as your
legal representative. Until your legal represen-
tative is appointed, anyone having proper tem-
porary custody of your property will have your
rights and duties but only with respect to that
property.

EXHIBPRGA"! of 1
Case 9:20-cv-81357-WM Document 1-1 Entered on FLSD Docket 08/20/2020 Page 24 of 52

IL P 001 01 04

U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
ASSETS CONTROL ("OFAC")
ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the
coverages you are provided.

This Notice provides information concerning possible impact on your insurance covera
issued by OFAC. Please read this Notice carefully.

The Office of Foreign Assets Control (OFAC) administers and enforces sanetio!
Presidential declarations of "national emergency". OFAC has identified and listed ni

® Foreign agents;

@® Front organizations;

@ Terrorists;

® Terrorist organizations; and
® Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons".
Treasury's web site — http//www.treas.gov/ofac.

In accordance with OFAC regulations, if it is determin at you or any other insured, or any person or
entity claiming the benefits of this insurance has violate . sanctions law or is a Specially Designated
National and Blocked Person, as identified by OFAC insurance Will be considered a blocked or frozen

immediately subject to OFAC. When an insurance policy is
considered to be such a blocked or frozen contract, N@payments nor premium refunds may be made without
authorization fram OFAC. Other limitation én the premiums and payments also apply.

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Builders
Insurance

Group™

American Builders Insurance Company

GENERAL LIABILITY DECLARATIONS

 

Policy Number: PKG 0247362 01
Named Insured: BECK CONSTRUCTION OF CENTRAL FLORIDA INC

Policy Period: From08/31/2018 To 08/31/2019 12:01A.M.Standard Time At The
Mailing Address

me

 

sured's

 

Type of Business

Business Description 3
Corporation

Trade Contractor - Residential

 

 

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IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO

L THE TERMS OF THIS

POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATEDIN THIS POLICY,

LIMITS OF INSURANCE

  
 

Each Occurrence Limit
Damage to Premises Rented to You Limit
Medical Expense Limit

Personal and Advertising Injury Limit

0
General Aggregate Limit (Other than Products/Co Sut $
Products/Completed Operations Aggregate Limi $

ALL PREMISES YOU OWN, RENT OR occtl

200” Any one premises
060 Any one person

2,000,000
2,000,000

 

7,000 Any one person or organization

 

Location Number | Address of bPrefiises You Own, Rent or Occupy
Refer to the attached Locations of Al sare es You Own, Rent or Occupy Schedule.

   

 

 

CLASSIFICATION AND eremilan )

 

 

 

 

 

 

 

 

 

 

 

 

 

Location | Classification Co Premium R Advance Premium
Number No. Base Prem/Ops | Prod/Comp | Prem/Ops | Prod/Comp
Ops Ops
Refer to the attagtie’ Contthercial General Liability Classification Schedule.
General Liability Coverage Premium $ 8,978.00
State Tax or Other (if applicable) $ 0.00
Total General Liability Coverage Premium $ 8,978.00

(Subject to Audit)
ENDORSEMENTS

 

Endorsements Attached to this Policy: See Attached Forms Inventory Schedule.

 

 

 

These Declarations, together with the Common Policy Conditions and Coverage Form(s) and
any Endorsement(s), complete the above numbered policy.

GL DEC 05 15

EXHIBIT "A"

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Case 9:20-cv-81357-WM Document 1-1 Entered on 6tmPRenakeherneesehicy age 26 of 52

American Builders Insurance Company
A Stock Company Policy Number: PKG 0247362 01

Fe aac H08G Named Insured: BECK CONSTRUCTION OF CENTRAL F
Agent: BLACKADAR INSURANCE AGENCY INC 0001939

 

 

 

 

 

COMMERCIAL GENERAL LIABILITY CLASSIFICATION SCHEDULE

Loc St Terr Code Rate Effective Expiration Premium Basis Per Cov** Premium
Classification Description

All FL 999 44444 0.030 08/31/2018 08/31/2019 ° $300.00
ENHANCEMENT ENDORSEMENT

All FL 999 44444 0.035 08/31/2018 08/31/2019 Oo $304.00
PROJECT AGG QY

00001 FL 006 91340 9.663 08/31/2018 08/31/2019 85,600 roll 0 $821.00

CARPENTRY-CONSTRUCTION OF RES. PROPERTY NOT EXCEED 3 STO s

00001 FL 006 91583 1.863 08/31/2018 08/31/2019 Total Cost O $2,641.00

INSURED SUB-CONTRACTORS - 1 & 2 FAMILY DWELLINGS

 

00001 FL 999 $1340 17.563 08/31/2018 08/3 O21 85,000 Payroll P $1,493.00
CARPENTRY-CONSTRUCTION OF RES. PROPERTY NO Xx 3 STORIES

00001 FL 999 91583 2.388 08/31/20 39/2019 1,417,710 Total Cost P $3,385.00
INSURED SUB-CONTRACTORS - 1 & 2 FAM DW INGS

TERRORISM CHARGE $34.00

FL HURRICANE CATASTROPHE FUND $0.00

** . P is for Products-Completed dea s, O is for All Other Hazards

¥ TOTAL GENERAL LIABILITY COVERAGE PART PREMIUM $8,978.00

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American Builders Insurance Company
A Stock Company

P.O. Box 723099
Atlanta, GA 31139-0099

Policy Number: PKG 0247362 01

 

Named Insured: BECK CONSTRUCTION OF CENTRAL F

 

 

Agent: BLACKADAR INSURANCE AGENCY INC

0001939

 

LOCATIONS OF ALL PREMISES YOU OWN, RENT OR OCCUPY

Loc # 1.
3402 HOLLIDAY AVE
APOPKA, FL 32703

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Issued Date: 09/05/2018

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EXHIBIT "A"

 
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COMMERCIAL GENERAL LIABILITY
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COMMERCIAL GENERAL LIABILITY COVERAGE FORM

Various provisions in this policy restrict coverage.
Read the entire policy carefully to determine rights,
duties and what is and is not covered.

Throughout this policy the words "you" and "your"
refer to the Named Insured shown in the Declarations,
and any other person or organization qualifying as a
Named Insured under this policy. The words "we",
"us" and “our” refer to the company providing this
insurance.

The word "insured" means any person or organization
qualifying as such under Section II - Who Is An
Insured.

Other words and phrases that appear in quotation
marks have special meaning. Refer to Section V -
Definitions.

SECTION I -

COVERAGE A - BODILY INJURY AND PROPERTY
DAMAGE LIABILITY

1. Insuring Agreement

a. We will pay those sums that the insured
becomes legally obligated to pay as damages
because Of "bodily injury" or “property &
damage" to which this insurance applies. W
will have the right and duty to defend tt
insured against any "suit" seating a

 
   
  

any "occurrence" and settle any claim or

"suit" that may result. B

(1) The amount we will pay for damages is
ss¢hibed in’Section II] - Limits

   

we mused up the applicable limit of
i in the payment of judgments or
setttements under Coverages A or B or
medical expenses under Coverage C.

No other obligation or liability to pay sums or
perform acts or services is covered unless
explicitly provided for under Supplementary
Payments - Coverages A and B.

b. This insurance applies to "bodily injury" and
"property damage" only if:
(1) The "bodily injury" or "property damage"
is caused by an "occurrence" that takes
place in the "coverage territory";

CG 00 01 04 13

COVERAGES Cc.

Se d.

e.

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(2) The “bodily injury" or "property damage”
occurs during the policy period; and

(3) Prior to the policy period, no insured listed
under Paragraph 1. of Section II - Who Is An
Insured and no "employee" authorized by
you to give or receive notice of an
"occurrence" or claim, knew that the "bodily
injury" o r "property damage" had occurred,
in whole or in part. | uch 2 listed insured
or authorized "emplo oe W, prior to the
policy period, that) odily injury" or
"property damag curred, _then any

 
  
  
 
     
   

we y period will be deemed to

have beemkn ie prior to the policy period.

"Bodily “inj “property damage" which
rS>during the policy period and was not,
he policy period, known to have

molovyes" authorized by you to give or receive
notice of an "occurrence" or claim, includes any
continuation, change or resumption of that
"bodily injury" or "property damage" after the
end of the policy period.

"Bodily injury" or “property damage" will be
deemed to have been known to have occurred
at the earliest time when any insured listed
under Paragraph 1. of Section II - Who Is An
Insured or any "employee" authorized by you to
give or receive notice of an “occurrence” or
claim:

(1) Reports all, or any part, of the "bodily
injury" or "property damage" to us or any
other insurer;

(2) Receives a written or verbal demand or
claim for damages because of the “bodily
injury" or "property damage"; or

(3) Becomes aware by any other means that
"bodily injury" or "property damage" has
occurred or has begun to occur.

Damages because of "bodily injury" include
damages claimed by any person or organization
for care, loss of services or death resulting at
any time from the "bodily injury".

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2. Exclusions
This insurance does not apply to:
a. Expected Or Intended Injury

. Page 2 of 16

"Bodily injury" or "property damage" expected
or intended from the standpoint of the insured.
This exclusion does not apply to "bodily injury"
resulting from the use of reasonable force to
protect persons or property.

Contractual Liability

"Bodily injury" or "property damage" for which
the insured is obligated to pay damages by
reason of the assumption of liability in a
contract or agreement. This exclusion does not
apply to liability for damages:

(1) That the insured would have in the absence
of the contract or agreement; or

(2) Assumed in a contract or agreement that is
an “insured contract", provided the "bodily
injury" or "property damage" occurs
subsequent to the execution of the contract
or agreement. Solely for the purposes of
liability assumed in an "insured contract",
reasonable attorneys’ fees and necessary
litigation expenses incurred by or for a
party other than an insured are deemed to
be damages because of "bodily injury" o
"property damage", provided:

(a) Liability to such party for, or fa
cost of, that party's defense
been assumed in the sa
contract"; and

(b) Such attorneys’ fee
expenses are for defen
against a civil or
resolution proceed inguin ywhich damages
to which this in§urance applies are
alleged.

   

  
  
  
 

"Bodily injury’
any insured m

(2) The furnishing of alcoholic beverages to a
person under the legal drinking age or under
the influence of alcohol; or

(3) Any statute, ordinance or regulation relating
to the sale, gift, distribution or use of
alcoholic beverages.

  
 

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This exclusion applies even if the claims against
any insured allege negligence or other
wrongdoing in:

(a) The supervision, hiring, employment,
training or monitoring of others by that
insured; or

(b) Providing or failing to provide
transportation with respect to any
person that may be under the influence
of alcohol;

if the "occurrence" which caused the "bodily
injury" or "property damage

which is described in Pat
above.

  
  
 
  
  
   

However, this ex¢ an
in the business ofymam

selling, sefving ~ furnishing alcoholic
purposes of this exclusion,
person to bring alcoholic

‘Selling, serving or furnishing alcoholic

erages.
Workers’ Compensation And Similar Laws

Any obligation of the insured under a workers’
compensation, disability benefits or unemploy-
ment compensation law or any similar law.

e. Employer's Liability

"Bodily injury" to:

(1) An “employee” of the insured arising out of
and in the course of:

(a) Employment by the insured; or

(b) Performing duties related to the
conduct of the insured's business; or

(2) The spouse, child, parent, brother or sister
of that "employee" as a consequence of
Paragraph (1) above.

This exclusion applies whether the insured may
be liable as an employer or in any other
capacity and to any obligation to share
damages with or repay someone else who must
pay damages because of the injury.

This exclusion does not apply to liability
assumed by the insured under an “insured
contract".

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f. Pollution

(1) "Bodily injury" or "property damage" arising
out of the actual, alleged or threatened
discharge, dispersal, seepage, migration,
release or escape of "pollutants":

(a) At or from any premises, site or location
which is or was at any time owned or
occupied by, or rented or loaned to, any
insured. However, this subparagraph
does not apply to:

(i) “Bodily injury" if sustained within a
building and caused by smoke,
fumes, vapor or soot produced by or
originating from equipment that is
used to heat, cool or dehumidify the
building, or equipment that is used to
heat water for personal use, by the
building's occupants or their guests;

(ii) "Bodily injury" or "property damage"
for which you may be held liable, if
you are a contractor and the owner
or lessee Of such premises, site or
location has been added to your
policy as an additional insured with
respect to your ongoing operations
performed for that additional insured

at that premises, site or location an
such premises, site or location is
and never was owned or occupie

by, or rented or loaned £0
insured, other than tha
insured; or

{iii) "Bodily injury" or "prop mage"
arising out of heat! smoke ‘or fumes
from a "hostile fire":

(b) At or from any premises, site or location
which is or was at/any time used by or
for any jfsured or others for the

handlin age, disposal, processing
atme nt ste;

 
  

sh. ate or were at any time
portéd, handled, stored, treated,
ed of, or processed as waste by or

(c)

(i) Any insured; or

{ii} Any person or organization for whom
you may be legally responsible; or

CG 00 01 04 13

(d) At or from any premises, site or location
on which any insured or any contractors
or subcontractors working directly or
indirectly on any insured's behalf are
performing operations if the "pollutants"
are brought on or to the premises, site
or location in connection with such
operations by such insured, contractor
or subcontractor. However, this
subparagraph does not apply to:

  

lubricants or OTF
which are ed tO perform the
normal @ ical, hydraulic or

nical ions necessary for

   
 
     

or tS parts’ if such fuels, lubricants
of other operating fluids escape from
aveh idle part designed to hold, store
“yor receive them. This exception
does not apply if the "bodily injury"
or "property damage" arises out of
the intentional discharge, dispersal
or release of the fuels, lubricants or
other operating fluids, or if such
fuels, lubricants or other operating
fluids are brought on or to the
premises, site or location with the
intent that they be discharged,
dispersed or released as part of the
operations being performed by such
insured, contractor or subcontractor;

(ii) "Bodily injury" or "property damage"
sustained within a building and
caused by the release of gases,
fumes or vapors from materials
brought into that building in
connection with operations being
performed by you or on your behalf
by a contractor or subcontractor; or

   
  
  
 

(iii) "Bodily injury" or "property damage"
arising out of heat, smoke or fumes
from a "hostile fire”.

(e) At or from any premises, site or location
on which any insured or any contractors
or subcontractors working directly or
indirectly on any insured's behalf are
performing operations if the operations
are to test for, monitor, clean up,
remove, contain, treat, detoxify or
neutralize, or in any way respond to, or
assess the effects of, "pollutants".

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EXHIBIT "
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(2) Any loss, cost or expense arising out of
any:

(a) Request, demand, order or statutory or
regulatory requirement that any insured
or others test for, monitor, clean up,
remove, contain, treat, detoxify or
neutralize, or in any way respond to, or
assess the effects of, "pollutants"; or

(b) Claim or suit by or on behalf of a

governmental authority for damages
because of testing for, monitoring,
cleaning up, removing, containing,

treating, detoxifying or neutralizing, or
in any way responding to, or assessing
the effects of, "pollutants".

However, this paragraph does not apply to
liability for damages because of "property
damage" that the insured would have in the
absence of such request, demand, order or
statutory or regulatory requirement, or such
claim or "suit" by or on behalf of a
governmental authority.

g. Aircraft, Auto Or Watercraft
"Bodily injury" or "property damage" arising out
of the ownership, maintenance, use or
entrustment to others of any aircraft, “auto” or

watercraft owned or operated by or rented
loaned to any insured. Use includes operatio

and "loading or unloading".

  
   
    

This exclusion applies even if the claims 2
any insured allege negligenceg or

wrongdoing in the supervision
employment, training or monitofing of others by
that insured, if the occurence caused
the "bodily injury" or "prope damage"
involved the ownership,maintenance, use or
entrustment to others of j

   

 

(2) Aw tercraft you do not own that is:

(a) Less than 26 feet long; and

(b) Not being used to carry persons or
property for a charge;

(3) Parking an "auto" on, or on the ways next
to, premises you own or rent, provided in
the "auto is not owned by or rented or
loaned to you or the insured;

(4) Liability assumed under any “insured
contract" for the ownership, maintenance or
use of aircraft or watercraft; or

Page 4 of 16

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(5) "Bodily injury" or "property damage" arising
out of:

(a) The operation of machinery” or
equipment that is attached to, or part of,
a land vehicle that would qualify under
the definition of "mobile equipment” if it
were not subject to a compulsory or
financial responsibility law or other
motor vehicle insurance law where it is
licensed or principally garaged; or

(b) The operation of any ofthe machinery or

  
 
 

f£({3) of the
equipment".

h. Mobile Equipment

"Bodily injury"
of: 4
(1) The transWextation of "mobile equipment" by
anauto" owned or operated by or rented or
y Ito any insured; or

 

   
 

(2) ‘The use of “mobile equipment" in, or while

“ain Bractice for, or while being prepared for,
NY y prearranged racing, speed, demolition,

 
  

or stunting activity.

"Bodily injury" or "property damage”, however
caused, arising, directly or indirectly, out of:

(1) War, including undeclared or civil war;

(2) Warlike action by a military force, including
action in hindering or defending against an
actual or expected attack, by any
government, sovereign or other authority
using military personnel or other agents; or

(3) Insurrection, rebellion, revolution, usurped
power, or action taken by governmental
authority in hindering or defending against
any of these.

j. Damage To Property
"Property damage" to:

{1) Property you own, rent, or occupy, including
any costs or expenses incurred by you, or
any other person, organization or entity, for
repair, replacement, enhancement,
restoration or maintenance of such property
for any reason, including prevention of injury
to a person or damage to another's
property;

(2) Premises you sell, give away or abandon, if
the "property damage" arises out of any part
of those premises;

(3) Property loaned to you;

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(4) Personal property in the care, custody or
control of the insured;

(5) That particular part of real property on which
you or any contractors or subcontractors
working directly or indirectly on your behalf
are performing operations, if the "property
damage" arises out of those operations; or

(6) That particular part of any property that
must be restored, repaired or replaced
because “your work" was _ incorrectly
performed on it.

Paragraphs (1), (3) and (4) of this exclusion do
not apply to "property damage" (other than
damage by fire) to premises, including the
contents of such premises, rented to you for a
period of seven or fewer consecutive days. A
separate limit of insurance applies to Damage To
Premises Rented To You as described in Section
Ill - Limits Of Insurance.

Paragraph (2) of this exclusion does not apply if
the premises are "your work" and were never
occupied, rented or held for rental by you.

Paragraphs (3), (4), (5) and (6) of this exclusion
do not apply to liability assumed under a
sidetrack agreement.

completed operations hazard".

Paragraph (6) of this exclusion does not apply t
“property damage” included in the re

Damage To Your Product

"Property damage" to "your produ isi ut
of it or any part of it. he

     

Damage To Your Work

"Property damage" to “your worfising out of
it or any part of it and inéluded in the "products-
completed operations haz ard

  

This exclusion daés not apply if the damaged
work or the wor

of which the damage
on your behalf by a

 

"Property”damage" to “impaired property" or
property that has not been physically injured,
arising out of:

(1) A defect, deficiency, inadequacy or
dangerous condition in "your product" or
"your work"; or

(2) A delay or failure by you or anyone acting on
your behalf to perform a contract or
agreement in accordance with its terms.

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This exclusion does not apply to the loss of use
of other property arising out of sudden and
accidental physical injury to "your product" or
"your work" after it has been put to its intended
use,

Recall Of Products, Work Or Impaired Property

Damages claimed for any loss, cost or expense
incurred by you or others for the loss of use,
withdrawal, recall, inspection, repair,
replacement, adjustment, removal or disposal of:

(1) "Your product";
(2) "Your work"; or
(3) "Impaired property*

 
 
 
 
   

person or org
suspected

  
 
 

Damages arising out of the loss of, loss of use
of, damage to, corruption of, inability to access,
or inability to manipulate electronic data.

However, this exclusion does not apply to
liability for damages because of "bodily injury”.

As used in this exclusion, electronic data means
information, facts or programs stored as or on,
created or used on, or transmitted to or from
computer software, including systems and
applications software, hard or floppy disks, CD-
ROMs, tapes, drives, cells, data processing
devices or any other media which are used with
electronically controlled equipment.

Recording And Distribution Of Material Or
Information In Violation Of Law

"Bodily injury" or "property damage” arising
directly or indirectly out of any action or
omission that violates or is alleged to violate:

(1) The Telephone Consumer Protection Act
(TCPA), including any amendment of or
addition to such law;

(2) The CAN-SPAM Act of 2003, including any
amendment of or addition to such law;

(3) The Fair Credit Reporting Act (FCRA), and
any amendment of or addition to such law,
including the Fair and Accurate Credit
Transactions Act (FACTA); or

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(4) Any federal, state or local statute, 2. Exclusions
ordinance or regulation, other than the
TCPA, CAN-SPAM Act of 2003 or FCRA
and their amendments and additions, that

This insurance does not apply to:
a. Knowing Violation Of Rights Of Another

Page 6 of 16

addresses, prohibits, or limits the printing,

dissemination, disposal, collecting,
recording, sending, transmitting,
communicating or distribution of material or
information.

Exclusions c. through n. do not apply to damage
by fire to premises while rented to you or
temporarily occupied by you with permission of the
owner. A separate limit of insurance applies to
this coverage as described in Section III - Limits Of
Insurance.

COVERAGE B - PERSONAL AND ADVERTISING
INJURY LIABILITY

Insuring Agreement

a. We will pay those sums that the insured
becomes legally obligated to pay as damages
because Of "personal and advertising injury" to
which this insurance applies. We will have the
right and duty to defend the insured against
any "suit" seeking those damages. However,
we will have no duty to defend the insured
against any "suit" seeking damages for

"personal and advertising injury" to which this A
insurance does not apply. We may, at ouf

limited as described in Sectior “Ih
Of Insurance; and

(2) Our right and duty to defe

have used up the applic
insurance in the pay of judgments or
settlements under C ges A or B or

medical expen S$ undepCoverage C.

 

b. This urance applies to “personal and
advertising’ injury" caused by an offense arising
out of your business but only if the offense
was committed in the “coverage territory"
during the policy period.

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"Personal and advertising injury" caused by or
at the direction of the insured with the
knowledge that the act would violate the rights
of another and would inflict “personal and
advertising injury".

. Material Published With Knowledge Of Falsity

   
   
   
 
 
  
 
 
 
 
 
  
   
   
  
 

“Personal and advertising inju arising out of
oral or written publication’ ny manner, of
material, if done by orsatythe “direction of the

picatiot, in any manner, or
Airst publication took i Binge

Decca Liability

~ "Personal and advertising injury" for which the

insured has assumed liability in a contract or
agreement. This exclusion does not apply to
liability for damages that the insured would
have in the absence of the contract or
agreement.

Breach Of Contract

"Personal and advertising injury" arising out of
a breach of contract, except an implied contract
to use another's advertising idea in your
"advertisement".

Quality Or Performance Of Goods - Failure To
Conform To Statements

"Personal and advertising injury" arising out of
the failure of goods, products or services to
conform with any statement of quality or
performance made in your "advertisement".

. Wrong Description Of Prices

"Personal and advertising injury" arising out of
the wrong description of the price of goods,
products or services’ stated in your
"advertisement".

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i. Infringement Of Copyright, Patent, Trademark
Or Trade Secret

“Personal and advertising injury” arising out of
the infringement of copyright, patent,
trademark, trade secret or other intellectual
property rights. Under this exclusion, such
other intellectual property rights do not include
the use of another's advertising idea in your
"advertisement".

However, this exclusion does not apply to
infringement, in your "advertisement", of
copyright, trade dress or slogan.

j._Insureds In Media And Internet Type
Businesses

“Personal and advertising injury" committed by
an insured whose business is:

(1) Advertising, broadcasting, publishing or
telecasting;

(2) Designing or determining content of web
sites for others; or

(3) An Internet search, access, content or
service provider.

However, this exclusion does not apply to
Paragraphs 14.a., b. and c. of "personal and

advertising injury" under the Definitions

section.

For the purposes of this exclusion, the plgaing
of frames, boarders or links, or advertisi 4, fe
you or others anywhere on the Interpés iS&hot
by itself, considered aGiness \, x
advertising, broadcasting,

telecasting.

  

“Personal and advertising Weajeny
an electronic chatroom ok
insured hosts, géns, oP
insured exerciseS cepirol.

  
  
  

product if” your e-mail address, domain name
or metatag, or any other similar tactics to
mislead another's potential customers.

m. Pollution

“Personal and advertising injury" arising out of
the actual, alleged or threatened discharge,
dispersal, seepage, migration, release or
escape of "pollutants" at any time.

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. War

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Pollution-related
Any loss, cost or expense arising out of any:

(1) Request, demand, order or statutory or
regulatory requirement that any insured or
others test for, monitor, clean up, remove,
contain, treat, detoxify or neutralize, or in
any way respond to, or assess the effects
of, "pollutants"; or

(2) Claim or suit by or on behalf of a
governmental authority, for damages
because of testing for, monitoring, cleaning
up, removing,  cefttaihing, treating,

    
   

   
  
  

detoxifying or neuyélizing, rin any way
responding to, o essing the effects of,
“pollutants”.

“Personal
caused, aris

d aqvertising injury", however
ifectly or indirectly, out of:

   

 
   
 

rigteluding undeclared or civil war;

   
 

 
    

fa

action by a military force, including
ioh in hindering or defending against an
or expected attack, by any
ovemment, sovereign or other authority

using military personnel or other agents; or

     
     
 
  

(3) Insurrection, rebellion, revolution, usurped
power, or action taken by governmental
authority in hindering or defending against
any of these,

Recording And Distribution Of Material Or
Information In Violation Of Law

"Personal and advertising injury" arising directly
or indirectly out of any action or omission that
violates or is alleged to violate:

(1) The Telephone Consumer Protection Act
(TCPA), including any amendment of or
addition to such law;

(2) The CAN-SPAM Act of 2003, including any
amendment of or addition to such law;

(3) The Fair Credit Reporting Act (FCRA), and
any amendment of or addition to such law,
including the Fair and Accurate Credit
Transactions Act (FACTA); or

{4) Any federal, state or local statute,
ordinance or regulation, other than the
TCPA, CAN-SPAM Act of 2003 or FCRA
and their amendments and additions, that
addresses, prohibits, or limits the printing,

dissemination, disposal, collecting,
recording, sending, transmitting,
communicating or distribution of material or
information.

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COVERAGE C - MEDICAL PAYMENTS

aL.

2. Exclusions

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a. Any Insured

Insuring Agreement
a. We will pay medical expenses as described

below for
accident:

"bodily injury" caused by an

(1) On premises you own or rent;

(2) On ways next to premises you own or rent;
or

(3} Because of your operations;
provided that:

(a) The accident takes place in the
“coverage territory" and during the
policy period;

(b) The expenses are incurred and reported
to us within one year of the date of the
accident; and

(c) The injured person submits to
examination, at our expense, by
physicians of our choice as often as we
reasonably require.

. We will make these payments regardless of

These payments will not exceed the
We will pay

fault.
applicable limit of insurance.
reasonable expenses for:

    
 

(2) Necessary medical, surgical, X-
dental services, including

devices; and
(3) Necessary ambulance, hospital, pr,
nursing and funeral service

   

To any insur: cept"volunteer workers".
Hired Perso

Toa ired to do work for or on behalf of
any insured of a tenant of any insured.

  

Injury On Normally Occupied Premises

To a person injured on that part of premises
you own or rent that the person normally
occupies.

. Coverage A Ex uSio

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Workers’ Compensation And Similar Laws

To a person, whether or not an "employee" of
any insured, if benefits for the “bodily injury"
are payable or must be provided under a
workers' compensation or disability benefits
law or a similar law.

Athletics Activities
To a person injured while _ practicing,
instructing or participating in any physical
exercises or games, ts, or athletic
contests.

 
 

Products-Completed Operations Hazard

 
     

Included within the

i roduicts-co mpleted
operations hazard’ ay,

Excluded under Coyerage A.

SUPPLEMENTARY PAYMENTS - COVERAGE A AND B

  

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fA, with respect to any claim we
settle, or any "suit" against an
fend:

because of accidents or traffic law violations
arising out of the use of any vehicle to which
the Bodily Injury Liability Coverage applies.
We do not have to furnish these bonds.

or $250 for cost of bail bonds required
(1) First aid administered at the time of y
accident; =

The cost of bonds to release attachments, but
only for bond amounts within the applicable
limit of insurance. We do not have to furnish
these bonds.

All reasonable expenses incurred by the
insured at our request to assist us in the
investigation or defense of the claim or "suit",
including actual loss of earnings up to $250 a
day because of time off from work.

All court costs taxed against the insured in the
"suit". However, these payments do not
include attorneys’ fees or attorneys' expenses
taxed against the insured.

Prejudgment interest awarded against the
insured on that part of the judgment we pay.
If we make an offer to pay the applicable limit
of insurance, we will not pay any prejudgment
interest based on that period of time after the
offer.

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g. All interest on the full amount of any judgment
that accrues after entry of the judgment and
before we have paid, offered to pay, or
deposited in court the part of the judgment that
is within the applicable limit of insurance.

These payments will not reduce the limits of
insurance.

2. If we defend an insured against a "suit" and an
indemnitee of the insured is also named as a party
to the "suit", we will defend that indemnitee if all
of the following conditions are met:

a. The "suit" against the indemnitee seeks
damages for which the insured has assumed
the liability of the indemnitee in a contract or
agreement that is an "insured contract";

b. This insurance applies to such liability assumed
by the insured;

c. The obligation to defend, or the cost of the
defense of, that indemnitee, has also been
assumed by the insured in the same "insured
contract":

d. The allegations in the "suit" and the information
we know about the "occurrence" are such that
no conflict appears to exist between the
interests of the insured and the interests of the

indemnitee
e. The indemnitee and the insured ask us
conduct and control the defense ofthat

   

indemnitee against such "suit" and ag % at.
we can assign the same counsel to
insured and the indemnitee; and

f. The indemnitee:
(1) Agrees in writing to: C
(a) Cooperate with US,in the investigation,
settlement or dice the "suit";
(b) Immediat send “us copies of any

demand ices, summonses or legal
Teceived in connection with the

  
 
  

otify "any other insurer whose
rage is available to the indemnitee;

(d) Cooperate with us with respect to
coordinating other applicable insurance
available to the indemnitee; and

(2) Provides us with written authorization to:

{a) Obtain records and other information
related to the "suit"; and

(b) Conduct and control the defense of the
indemnitee in such "suit".

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So long as the above conditions are met,
attorneys’ fees incurred by us in the defense of
that indemnitee, necessary litigation expenses
incurred by us and necessary litigation expenses
incurred by the indemnitee at our request will be
paid as Supplementary Payments.
Notwithstanding the provisions of Paragraph
2.b.(2) of Section | - Coverage A - Bodily Injury
And Property Damage Liability, such payments will
not be deemed to be damages for “bodily injury"
and "property damage" and 4 not reduce the
limits of insurance.

Our obligation to defend an4 A indemnitee
and to pay for attorne ees d necessary
litigation expenses as cer entary Payments

ends when we have applicable limit of
insurance in the bey t of judgments or
settlements or thet ions set forth above, or

the terms of the agreement described in Paragraph

f. above, are no on met.

  
 
 

i sureds, but only with respect to the conduct
a business of which you are the sole owner.

‘S A partnership or joint venture, you are an

insured. Your members, your partners, and
their spouses are also insureds, but only with
respect to the conduct of your business.

c. A limited liability company, you are an insured.
Your members are also insureds, but only with
respect to the conduct of your business. Your
managers are insureds, but only with respect
to their duties as your managers.

d. An organization other than a partnership, joint
venture or limited liability company, you are an
insured. Your "executive officers" and
directors are insureds, but only with respect to
their duties as your officers or directors. Your
stockholders are also insureds, but only with
respect to their liability as stockholders.

e. A trust, you are an insured, Your trustees are
also insureds, but only with respect to their
duties as trustees.

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2. Each of the following is also an insured:

a. Your "volunteer workers" only while performing
duties related to the conduct of your business,
or your "employees", other than either your
“executive officers" (if you are an organization
other than a partnership, joint venture or limited
liability company) or your managers (if you are a
limited liability company), but only for acts
within the scope of their employment by you or
while performing duties related to the conduct of
your business. However, none of these
“employees or "volunteer workers" are insureds
for:

(1) "Bodily injury" or "personal and advertising
injury":

(a) To you, to your partners or members (if
you are a partnership or joint venture), to
your members (if you are a limited
liability company), to a co-"employee"
while in the course of his or her
employment or performing duties related
to the conduct of your business, or to
your other "volunteer workers" while
performing duties related to the conduct
of your business;

(b) To the spouse, child, parent, brother or

sister of that co"employee" or "volunteer

worker" as a consequence of Parag,
(1)(a) above; an

(c) For which there is any obliga

3. Any organization you newly_ac

c. Any person or organization having proper
temporary custody of your property if you die,
but only:

(1) With respect to liability arising out of the
maintenance or use of that property; and

(2) Until your legal representative has been
appointed.

d. Your legal representative if you die, but only
with respect to duties as such. That
representative will have all your rights and
duties under this Coverage Part.

   
  
   
 
    
 
 
 
 
 
 
 
 
 

cuir r form, other
than a partnership, joint y We oF limited liability
company, and over whi nh L { maintain ownership
or majority interest, r
if there is no othe

    
  
 
 
   
  

uired or formed the organization; and

Coverage B does not apply to "personal and
advertising injury" arising out of an offense
committed before you acquired or formed the
organization.

(d)

No person or organization is an insured with respect to
the conduct of any current or past partnership, joint
venture or limited liability company that is not shown
(1)(a) as a Named Insured in the Declarations.

SECTION III - LIMITS OF INSURANCE
1. The Limits of Insurance shown in the Declarations

  

share damages with or repaf someone
else who must pay dama ause of
the injury described in Para .

or (b) above; or

Arising out of his or her providing or
failing to provide ional health care

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services.
(2) "Property da e" to property:

d or used by;

 
    
 
 

¢ in the care, custody or control
Sever which physical control is
xercised for any purpose by;

you, any of your "employees", "volunteer
workers", any partner or member (if you are
a partnership or joint venture), or any
member (if you are a_ limited liability
company).

b. Any person (other than you "employee" or
"volunteer worker"), or any organization while
acting as your real estate manager.

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and the rules below fix the most we will pay
regardless of the number of:

a. Insureds;
b. Claims made or "suits" brought; or

c. Persons or organizations making claims or
bringing "suits".

. The General Aggregate Limit is the most we will

pay for the sum of:
a. Medical expenses under Coverage C;

b. Damages under Coverage A, except damages
because Of “bodily injury" or "property
damage" included in the "products-completed
operations hazard"; and

c. Damages under Coverage B.

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3. The Products-Completed Operations Aggregate
Limit is the most we will pay under Coverage A for
damages because of "bodily injury" and “property
damage” included in the "products-completed
operations hazard”.

4. Subject to Paragraph 2. above, the Personal And
Advertising Injury Limit is the most we will pay
under Coverage B for the sum of all damages
because of all “personal and advertising injury”
sustained by any one person or organization.

5. Subject to Paragraph 2. or 3. above, whichever
applies, the Each Occurrence Limit is the most we
will pay for the sum of:

a. Damages under Coverage A; and
b. Medical expenses under Coverage C

because of all “bodily injury" and "property
damage” arising out of any one “occurrence”.

6. Subject to Paragraph 5. above, the Damage To
Premises Rented To You Limit is the most we will
pay under Coverage A for damages because of
“property damage” to any one premises, while
rented to you, or in the case of damage by fire,
while rented to you or temporarily occupied by
you with permission of the owner.

7. Subject to Paragraph 5. above, the Medical

Expense Limit is the most we will pay under
Coverage C for all medical expenses because q
“bodily injury” sustained by any one person.

The Limits of Insurance of this Coverage P
separately to each consecutive annual pest
any remaining period of less than 12 mgath
with the beginning of the policy perio shownyin the
Declarations, unless the policy periad i ended after
issuance for an additional period of than 12
months. In that case, the ad | period will be
deemed part of the last preceding gerod for purposes
of determining the Limits oft suraree.

SECTION IV - COMMERGIAL GENERAL LIABILITY
CONDITIONS SY

1. Bankruptcy

 
   
  
 

Bankrup olvency of the insured or of the
insured's @atate will not relieve us of our
obligations unter this Coverage Part.

2. Duties In The Event Of Occurrence, Offense, Claim
Or Suit

a. You must see to it that we are notified as soon
as practicable of an “occurrence” or an
offense which may result in a claim. To the
extent possible, notice should include:

(1) How, when and where the "occurrence" or
offense took place:

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(2) The names and addresses of any injured
persons and witnesses; and

(3) The nature and location of any injury or
damage arising out of the "occurrence" or
offense.

b. If a claim is made or "suit" is brought against
any insured, you must:

(1) Immediately record the specifics of the
claim or "suit” and the date received; and

(2) Notify us as soon as practi¢able.

You must see to it thatag
notice of the claim @
practicable.

   
 
    
  
 
 
  

You and any othe

    
    
 
    
 
 
  
  
  

ori#e us to obtain records and other
pation;

‘Settlement of the claim or defense against
the "suit"; and

(4) Assist us, upon our request, in the
enforcement of any right against any
person or organization which may be liable
to the insured because of injury or damage
to which this insurance may also apply.

d. No insured will, except at that insured's own
cost, voluntarily make a payment, assume any
obligation, or incur any expense, other than for
first aid, without our consent.

3. Legal Action Against Us

No person or organization has a right under this
Coverage Part:

a. To join us as a party or otherwise bring us into
a "suit" asking for damages from an insured;
or

b. To sue us on this Coverage Part unless all of
its terms have been fully complied with.

A person or organization may sue us to recover on
an agreed settlement or on a final judgment
against an insured; but we will not be liable for
damages that are not payable under the terms of
this Coverage Part or that are in excess of the
applicable limit of insurance. An agreed
settlement means a settlement and release of
liability signed by us, the insured and the claimant
or the claimant's legal representative.

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4. Other Insurance

lf other valid and collectible insurance is available to
the insured for a loss we cover under Coverage A
or B of this Coverage Part, our obligations are
limited as follows:

a. Primary Insurance

This insurance is primary except when
Paragraph b. below applies. If this insurance is
primary, our obligations are not affected unless
any of the other insurance is also primary.
Then, we will share with all that other insurance
by the method described in Paragraph c. below.

b, Excess Insurance
(1) This insurance is excess over:

(a) Any of the other insurance, whether
primary, excess, contingent or on any
other basis:

(i) That is Fire, Extended Coverage,
Builder's Risk, Installation Risk or
similar coverage for "your work";

(ii) That is Fire insurance for premises
rented to you or _ temporarily
occupied by you with permission of
the owner;

“property damage"

rented to you or
occupied by you with Pgs ni
the owner; or

to PIs Tis

watercraft to the ex not subject
as. 1. of Section | -

   

SroduetsAand completed operations, for
—_ you have been added as an
ngitone! insured.

(2) When this insurance is excess, we will have
no duty under Coverages A or B to defend
the insured against any "suit" if any other
insurer has a duty to defend the insured
against that "suit". If no other insurer
defends, we will undertake to do so, but we
will be entitled to the insured's rights
against all those other insurers.

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(3) When this insurance is excess over other
insurance, we will pay only our share of the
amount of the loss, if any, that exceeds the
sum of:

(a) The total amount that all such other
insurance would pay for the loss in the
absence of this insurance; and

(b) The total of all deductible and self-
insured amounts under all that other
insurance.

(4) We will share the rem iffing loss, if any,
with any other insur that is not
described in this E InsUrance provision

and was not bou ecifically to apply in
excess of the, msurance shown in

    
  

c. Method Of Sharing

If allof the other insurance permits contribution
by equially hares, we will follow this method
_ Under this approach each insurer

   
   
  

e
le limit of insurance or none of the loss
s, whichever comes first.

contribution by equal shares, we will contribute
by limits. Under this method, each insurer's
share is based on the ratio of its applicable limit
of insurance to the total applicable limits of
insurance of all insurers.

5. Premium Audit

a. We will compute all premiums for this Coverage
Part in accordance with our rules and rates.

b. Premium shown in this Coverage Part as
advance premium is a deposit premium only.
At the close of each audit period we will
compute the earned premium for that period
and send notice to the first Named Insured.
The due date for audit and retrospective
premiums is the date shown as the due date on
the bill. If the sum of the advance and audit
premiums paid for the policy period is greater
than the earned premium, We will return the
excess to the first Named Insured.

c. The first Named Insured must keep records of
the information we need for premium
computation, and send us copies at such times
as we may request.

6. Representations
By accepting this policy, you agree:

a. The statements in the Declarations are accurate
and complete;
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b. Those statements are based upon representa-
tions you made to us; and

c. We have issued this policy in reliance upon
your representations.

Separation Of Insureds

Except with respect to the Limits of Insurance, and
any rights or duties specifically assigned in this
Coverage Part to the first Named Insured, this
insurance applies:

a. As if each Named Insured were the only
Named Insured; and

b. Separately to each insured against whom claim
is made or "suit" is brought.

Transfer Of Rights Of Recovery Against Others To
Us

If the insured has rights to recover all or part of
any payment we have made under this Coverage
Part, those rights are transferred to us. The
insured must do nothing after loss to impair them.
At our request, the insured will bring "suit" or
transfer those rights to us and help us enforce
them.

When We Do Not Renew

If we decide not to renew this Coverage Part, we
will mail or deliver to the first Named Insure
shown in the Declarations written notice of the
nonrenewal not less than 30 days beforg atl
expiration date. e:

If notice is mailed, proof of maili
sufficient proof of notice.

SECTION V - DEFINITIONS

4

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means a notice tha’ Jd broadcast
or published to the gene ublic or specific
market segments about you s, products or

services for the purposéof attfacting customers or
supporters. For the oses of this definition:
“@fe, published include material

placed on the Intérnet or on similar electronic
Nhmunication; and

sites, only that part of a web
about your goods, products or

the purposes of attracting
is considered an

"Advertisement"

  
  

services for
customers or supporters
advertisement.

"Auto" means:

a. A land motor vehicle, trailer or semitrailer
designed for travel on public roads, including
any attached machinery or equipment; or

b. Any other land vehicle that is subject to a
compulsory or financial responsibility law or
other motor vehicle insurance law where it is
licensed or principally garaged.

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8.

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* provided the

However, "auto" does not include "mobile

equipment”.

"Bodily injury" means bodily injury, sickness or
disease sustained by a person, including death
resulting from any of these at any time.

"Coverage territory" means:

a. The United States of America (including its
territories and possessions), Puerto Rico and
Canada;

b. International waters or airspace, but only if the
injury or damage occurs in,the\course of travel
or transportation between a ces included

in Paragraph a. above; or

     
  
 

made or sold by you in
in Paragraph a.

(1) Goods o A Wns
the tek ry #escribed

   
   
 
 
  
  

ablivities of a person whose home is in
efritory described in Paragraph a.
, but is away for a short time on your

"Personal and advertising injury” offenses
that take place through the Internet or
similar electronic means of communication;

insured's responsibility to pay
damages is determined in a "suit" on the merits, in
the territory described in Paragraph a. above or ina
settlement we agree to.

"Employee" includes a “leased worker".
"Employee" does not include a "temporary
worker".

“Executive officer" means a person holding any of
the officer positions created by your charter,
constitution, bylaws or any other similar governing
document.

"Hostile fire" means one which becomes
uncontrollable or breaks out from where it was
intended to be.

"Impaired property" means tangible property, other
than "your product" or "your work", that cannot
be used or is less useful because:

a. It incorporates "your product" or "your work"
that is known or thought to be defective,
deficient, inadequate or dangerous; or

b. You have failed to fulfill the terms of a contract
or agreement;

if such property can be restored to use by the
repair, replacement, adjustment or removal of
"your product” or "your work" or your fulfilling the
terms of the contract or agreement.

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9. "Insured contract" means:

a. A contract for a lease of premises. However,
that portion of the contract for a lease of
premises that tndemnifies any person or
organization for damage by fire to premises
while rented to you or temporarily occupied by
you with permission of the owner is not an
"insured contract";

b. Asidetrack agreement;

c. Any easement or license agreement, except in
connection with construction or demolition
operations on or within 50 feet of a railroad;

d. An obligation, as required by ordinance, to
indemnify a municipality, except in connection
with work for a municipality;

e. An elevator maintenance agreement;

f. That part of any other contract or agreement
pertaining to your business (including an
indemnification of a municipality in connection
with work performed for a municipality) under
which you assume the tort liability of another
party to pay for “bodily injury” or “property
damage" to a third person or organization. Tort
liability means a liability that would be imposed
by law in the absence of any contract or
agreement.

Paragraph f. does not include that part of ye

contract or ‘agreement:

. “Ssroving or failing to
Off approve, maps, shop draw-
ons, reports, surveys, field

ecl cations: or

(b) Giving directions or instructions, or fail-
ing to give them, if that is the primary
cause of the injury or damage; or

(3) Under which the insured, if an architect,
engineer or surveyor, assumes liability for
an injury or damage arising out of the
insured's rendering or failure to render
professional services, including those listed
in (2) above and supervisory, inspection,
architectural or engineering activities.

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10. "Leased worker" means a person leased to you by
a labor leasing firm under an agreement between
you and the labor leasing firm, to perform duties
related to the conduct of your business. “Leased
worker" does not include a “temporary worker".

11.“Loading or unloading" means the handling of
property:
‘a. After it is moved from the place where it is

accepted for movement into or onto an aircraft,
watercraft or "auto";

b. While t is in or on an airs
"auto";

c. While it is being
watercraft or “autg :

   
   
 
   
   

Aft, watercraft or

nt means of a mechanical
device, other f hand truck, that is not
attached jos ethe aircraft, watercraft or “auto”.

 
   
  
    
 
 
  
  
    
  

au Sent" means any of the following
lad vehicles, including any attached

Shicles designed for use principally off public
roads;

. Vehicles maintained for use solely on or next to
premises you own or rent;

c. Vehicles that travel on crawler treads;

d. Vehicles, whether self-propelled or not,
maintained primarily to provide mobility to
permanently mounted:

{1} Power cranes, shovels, loaders, diggers or
drilis; or

{2} Road construction or resurfacing equipment
such as graders, scrapers or rollers;

e. Vehicles not described in Paragraph a., b., c. or
d. above that are not self-propelled and are
maintained primarily to provide mobility to
permanently attached equipment of the
following types:

(1) Air compressors, pumps and generators,
including spraying, welding, building clean-
ing, geophysical exploration, lighting and
well servicing equipment; or

(2) Cherry pickers and similar devices used to
raise or lower workers;

f. Vehicles not described in Paragraph a., b., c. or
d. above maintained primarily for purposes
other than the transportation of persons or
cargo.

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However, self-propelled vehicles with the 16. "Products-completed operations hazard":

following types of permanently attached a. Includes all “bodily injury" and “property
equipment are not "mobile equipment" but will damage" occurring away from premises you own
be considered "autos": or rent and arising out of “your product” or
(1) Equipment designed primarily for: "your work" except:

(a) Snow removal; (1) Products that are still in your physical

(b) Road maintenance, but not construction possession, OF

or resurfacing; or (2) Work that has not yet been completed or
abandoned. However, "your work" will be
deemed completed at the earliest of the
(2) Cherry pickers and similar devices mounted following times: '
on automobile or truck chassis and used to
raise or lower workers; and (a) When all of the

(c) Street cleaning;

   
  
 

(3) Air compressors, pumps and generators,
including spraying, welding, building clean-
ing, geophysical exploration, lighting and

well servicing equipment. vob ads ctcalls,f
However, "mobile equipment" does not include any ( d 5
land vehicles that are subject to a compulsory or (ec), 1, eb Patt . re ee ane a Jo
financial responsibility law or other motor vehicle gras Geer Puc Be Ie 4 ik i th y
insurance law where it is licensed or principally : a a = ce ap ion pcortt actor
garaged. Land vehicles subject to a compulsory or , Aang a ao nr
financial responsibility law or other motor vehicle SPRING RN RNG lSe Tihs PEO }Set.
insurance law are considered "autos":

(b) When all of*
job site ff

  
 
  
   
 
  
   

Work that may need service, maintenance,

" " ’ . . correction, repair or replacement, but which
13."Occurrence" means an _ accident, including is otherwise complete, will be treated as

continuous or repeated exposure to substantially eanenistend
the same general harmful conditions. e ,
b. Does not include "bodily injury" or "property

14."Personal and advertising injury" means damage" arising out of:

including consequential "bodily injury", arisin
of one or more of the following offenses:

 
  

(1) The transportation of property, unless the
injury or damage arises out of a condition in
or on a vehicle not owned or operated by

b. Malicious prosecution; you, and that condition was created by the

"loading or unloading" of that vehicle by any

a. False arrest, detention or impriso

c. The wrongful eviction from, gful entry

into, or invasion of right of private insured;
occupancy of a room, dw or premises that (2) The existence of tools, uninstalled equipment
a person or lengthy commi d by or on behalf or abandoned or unused materials; or

. (3) Products or operations for which the classifi-
d. Oral or write AWpublication, in any manner, of cation, listed in the Declarations or in a policy

  

material that, slanders or libels a person or Schedule, states that products-completed
organization “or ‘disparages a person's or operations are subject to the General
organizat goods, products or services; Aggregate Limit.

e. Oral or Witten publication, in any manner, of 17."Property damage" means:
eee ines -invlates: a Belson FIGNt af a. Physical injury to tangible property, including all
P Yi resulting loss of use of that property. All such

f. The use of another's advertising idea in your loss of use shall be deemed to occur at the time
"advertisement": or of the physical injury that caused it; or

g. Infringing upon another's copyright, trade dress b. Loss of use of tangible property that is not
or slogan in your "advertisement". physically injured. All such loss of use shall be

deemed to occur at the time of the "occurrence"

15."Pollutants" mean any solid, liquid, gaseous or that caused it.

thermal irritant or contaminant, including smoke,
vapor, soot, fumes, acids, alkalis, chemicals and For the purposes of this insurance, electronic data is
waste. Waste includes materials to be recycled, not tangible property.

reconditioned or reclaimed.

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As used in this definition, electronic data means
information, facts or programs stored as or on,
created or used on, or transmitted to or from
computer software, including systems and
applications software, hard or floppy disks, CD-
ROMS, tapes, drives, cells, data processing devices
or any other media which are used with
electronically controlled equipment.

18. "Suit" means a civil proceeding in which damages

because of "bodily injury", "property damage" or
"personal and advertising injury" to which this

insurance applies are alleged. "Suit" includes:

a. An arbitration proceeding in which such
damages are claimed and to which the insured
must submit or does submit with our consent;
or

b. Any other alternative dispute resolution pro-
ceeding in which such damages are claimed
and to which the insured submits with our
consent.

19."Temporary worker" means a person who is
furnished to you to substitute for a permanent
"employee" on leave or to meet seasonal or short-

term workload conditions.

20. "Volunteer worker" means a person who is not
p

your “employee”, and who donates his or her work

duties determined by you, and is not paid a fée,

salary or other compensation by you or anyo e
for their work performed for you.

21."Your product":
a. Means:
(1) Any goods or products,

Go real
property, manufactured, , handled,

distributed or dispos
(a) You; we
{b) Others t age your name; or

J TSOn r organization whose

or assets you have acquired;

  
  

(other than vehicles), materials,
parts‘er equipment furnished in connection
with such goods or products.

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and acts at the direction of an within the fa

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b. Includes:

(1) Warranties or representations made at any
time with respect to the fitness, quality,
durability, performance or use of "your
product"; and

(2) The providing of or failure to provide
warnings or instructions.

c. Does not include vending machines or other
property rented to or located for the use of
others but not sold.

22."Your work":

a. Means:
(1) Work or operatior rformed by you or
on your behalff and)

 

¥ The providing of or failure to provide
warnings or instructions.

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COMMERCIAL GENERAL LIABILITY

THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.

GENERAL LIABILITY EXTRA COVERAGE ENDORSEMENT
FOR TRADE CONTRACTORS

This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

TABLE OF CONTENTS

Additions to SECTION I - COVERAGE A BODILY INJURY AND PROPERTY DAMAGE Lt

 

1. Non-Owned Watercraft

2. Fire, Lightning, Explosion, Smoke, or Leakage from an Automatic Fire Rio:

   
 

Additions to SECTION | - SUPPLEMENTARY PAYMENTS - COVERAGES A‘AN|

1. Increased Limits for Bail Bonds AY
2. Increased Limit of Loss of Earnings &
Additions to SECTION II - WHO IS AN INSURED y

. Additional Insured Status for Persons or < by Written Contract or Agreement

—_

Incidental Medical Malpractice

Newly Acquired or Formed Organi

> 8 DS

i n
Additional Insured Lessor of Leas ipment Automatic Status When Required In Lease Agreement With
You
Additions to SECTION III - mote INSURANCE

1. Damage to mend My To You
2. Increased ada Ment Limit

3. Additio d - Persons or Organizations Required by Written Contract or Agreement
Additions to SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS

1. Knowledge of Occurrence

2. Primary and Noncontributory

3. Transfer of Rights of Recovery
4. Liberalization

5. Unintentional Failure to Disclose

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COMMERCIAL GENERAL LIABILITY

SECTION | - COVERAGES
COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY is revised as follows:

1. Non-Owned Watercraft. Paragraph2. Exclusions, g. Aircraft, Auto Or Watercraft item (2) is deleted and
replaced with the following:
(2) A watercraft you do not own that is:
(a) Less than 51 feet long; and
(b) Not being used to carry persons or property for a charge;
2. Property Damage Exclusion. Paragraph 2. Exclusions, j. Damage to Property is revised by dé A g the clause
that states: a
Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" (other than damage by
fire) to premises, including the contents of such premises, rented to you for a pe of 7 or fewer
consecutive days. A separate limit of insurance applies to Damage To Preninyl ited To You as
described in Section II| - Limits Of Insurance. h }

    
  
 
   
  

 

and replacing it with:

Paragraphs (1), (3) and (4) of this exclusion do not apply to "prope:
fire, lightning, explosion, smoke or leakage from an automati “f
including the contents of such premises, rented to you om
separate limit of insurance applies to Damage To wan
Limits Of Insurance.

‘oF 7 or fewer consecutive days. A
o You as described in Section Ill -

SUPPLEMENTARY PAYMENTS - COVERAGE A AND B << Ss ~

 
     
  

S the following, to provide that we will pay, with
suit against an insured we defend:

3. Increased Limits. Paragraph 1.b. is deleted an
respect to any claim we investigate or settle, o

b. Upto $2,500 for cost of bail bonds equ re
violations arising out of the use of apy.motor Ve

We do not have to furnish these

hicle to which the Bodily Injury Liability Coverage applies.

4. Increased Limits. Paragraph 1.d. i$ deleted and replaced by the following, to provide that we will pay, with
respect to any claim we investigat@or settle, or any "suit" against an insured we defend:
d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or
defense of the claim or “SWit., including actual loss of earnings up to $350 a day because of time off from
work.

  
  
  
 
 

SECTION II - WHO IS - is revised:

1. Additional Insure

A. Operations- Additional Insured- Automatic Status When Required In Written Construction

Section II - Who Is An Insured is amended to include as an additional insured:

1. Any person or organization for whom you are performing operations when you and such person or
organization have agreed in writing in a contract or agreement that such person or organization be
added as an additional insured on your policy; and

2. Any other person or organization you are required to add as an additional insured under the
contract or agreement described in Paragraph 1. above.

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COMMERCIAL GENERAL LIABILITY

Such person(s) or organization(s) is an additional insured only with respect to liability for “bodily
injury", "property damage" or "personal and advertising injury" caused, in whole or in part, by:
a. Your acts or omissions; or
b. The acts or omissions of those acting on your behalf;

in the performance of your ongoing operations for the additional insured.

However, the insurance afforded to such additional insured described above:
a. Only applies to the extent permitted by law; and

b. Will not be broader than that which you are required by the contract or agree

for such additional insured.

ffent to provide

  
  
   
 
 
 
 
  
 
 
  
 

A person's or organization's status as an additional insured under this section 4hthis endorsement
ends when your operations for the person or organization described in Paraggaph

completed.

With respect to the insurance afforded to these additional insureds,
apply:
This insurance does not apply to:

1. "Bodily injury’, “property damage" or "personal and agi wel in injury" arising out of the rendering
of, or the failure to render, any professional archite a agineering or surveying services,

a. The prepara anes oa to pra Rape orapprove, maps, shop drawings, opinions,
Aidereio drawings and specifications; or

in the supervision, hiring, emp plea a ining or monitoring of others ee that insured, if the
“occurrence” which caused f er B Sy y injury” or “property caret or the offense which caused

2. "Bodily injury" or “pro CC y damage” occurring after:

a. All work, eke sn parts or equipment furnished in connection with such work, on

      
 

ct (oferthan service, maintenance or repairs) to be performed by or on behalf of the
al insured(s) at the location of the covered operations has been completed; or

jon of “your work" out of which the injury or damage arises has been put to its

hy se by any person or organization other than another contractor or subcontractor
aged in performing operations for a principal as a part of the same project.

The most we will pay on behalf of the additional insured is the amount of insurance:
1. Required by the contract or agreement described in Paragraph A.1.; or
2. Available under the applicable Limits of Insurance shown in the Declarations whichever is less.

B. Completed Operations- Additional Insured- When Required In Written Construction Agreement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or
organization(s) you have agreed in a written contract or written agreement to add as an additional

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COMMERCIAL GENERAL LIABILITY

insured on your policy, but only with respect to liability arising out of "your work" performed under
that contract or agreement and included in the "products-completed operations hazard" and only when
that contract, agreement, or permit requires the additional insured be added with respect to liability
arising out of “your work" performed under that contract or agreement and included in the "products-
completed operations hazard".

If the written contract or written agreement does not require that the additional insured be added with
respect to liability arising out of "your work" performed under that contract or agreement and included
in the "products-completed operations hazard", then SECTION II - WHO IS AN INSURED is amended
to include as an additional insured any person or organization you have agreed in a written contract or
written agreement to add as an additional insured on your policy, but only with re to liability for
“bodily injury", "property damage” or "personal and advertising injury" he a
roducts-

        
 

"your work" performed under that contract or agreement and included in the "

operations hazard". Dy
However: ds CS

a. The insurance afforded to such additional insured only applies tort he extent permitted by law; and
b. If coverage provided to the additional insured is required by.a.contfact or agreement, the insurance
afforded to such additional insured will not be broader thain that which you are required by the

   
  
 

Ill - Limits Of Insurance:

pay on behalf of the additional insured is théa

If coverage provided to the additional ae ed by acontract or agreement, the most we will
a. Required by the contract or agreeme! o. :

 

A. Section II - Who Is An Insured is amén include as an additional insured:

1. Any person or organization for wh l, are performing operations when you and such person or
organization have agreed i writing in a contract or agreement that such person or organization be added as
an additional insured on yo ; and

Any other person or organization’ you are required to add as an additional insured under the contract or

 

  
 
 

of jan izatt n(s) i is an additional insured only with nan Ge to liability for "bodily injury", "property

in the performance of your ongoing operations for the additional insured.
However, the insurance afforded to such additional insured described above:

a. Only applies to the extent permitted by law; and
b. Will not be broader than that which you are required by the contract or agreement to provide for such
additional insured.

A person's or organization's status as an additional insured under this endorsement ends when your operations
for the person or organization described in Paragraph 1. above are completed.

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COMMERCIAL GENERAL LIABILITY

B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:

This insurance does not apply to:
1. “Bodily injury", "property damage" or "personal and advertising injury” arising out of the rendering of, or
the failure to render, any professional architectural, engineering or surveying services, including:
a. The preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
surveys, field orders, change orders or drawings and specifications; or
b. Supervisory, inspection, architectural or engineering activities.

This exclusion applies even if the claims against any insured allege negligence or other wrongdoi
supervision, hiring, employment, training or monitoring of others by that insured, if the “occur

  
 
  
  
    
     
 
  

services.

2. “Bodily injury" or "property damage" occurring after:

¥ has been put to its intended use

b. That portion of “your work" out of which the injury or da Sg
g rbcontractor engaged in performing

by any person or organization other than another cont
operations for a principal as a part of the same projeg

hg exception is added:

or "volunteer workers" who provide professional

3.a. is deleted and replaced with the following:
a. Coverage under this provision is afforded only until the 180th day after you acquire or form the
organization or the end of the policy period, whichever is earlier;

Paragraph 3.b. is deleted and replaced with the following:
b. Coverage A does not apply to "bodily injury" or “property damage” to “your product" that occurred
before you acquired or formed the organization; and

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COMMERCIAL GENERAL LIABILITY

4. Additional Insured Lessor of Leased Equipment Automatic Status When Required In Lease Agreement With
You

A. Section II - Who Is An Insured is amended to include as an additional insured any person(s) or organization(s)
from whom you lease equipment when you and such person(s) or organization(s) have agreed in writing in a
contract or agreement that such person(s) or organization(s) be added as an additional insured on your policy.
Such person(s) or organization(s) is an insured only with respect to liability for "bodily injury", "property damage"
or "personal and advertising injury" caused, in whole or in part, by your maintenance, operation or use of

equipment leased to you by such person(s) or organization(s).

However, the insurance afforded to such additional insured:

   
 
  
 
   

1. Only applies to the extent permitted by law; and

‘provide for such
is endorsement ends

2. Will not be broader than that which you are required by the contract or agreement te
additional insured. A person's or organization's status as an additional insuredaunder
when their contract or agreement with you for such leased equipment ends. /

B. With respect to the insurance afforded to these additional insureds, this.i
“occurrence” which takes place after the equipment lease expires. 4

C. With respect to the insurance afforded to these additional insu the following is added to Section III -

Limits Of Insurance: A
The most we will pay on behalf of the additional insured is the amount of insurance:

1. Required by the contract or agreement you have redyinto with the additional insured; or
2. Available under the applicable Limits of Insuran wnin the Declarations; whichever is less.

   

This endorsement shall not increase the applicak

 

SECTION Ill - LIMITS OF INSURANCE - T Oo im is added for the purpose of this Endorsement:

The Limits of Insurance shown in the Declarations apply to the insurance provided by this endorsement, except
the following limits, which are amended

a. The Each Occtitr Limit shown in the Declarations; or
b. $300,000. a

1. Damage To Premises oe
The limit for Damage ei kented to You is amended to be the lesser of:

  
 
   

2. Increased

  

Without in

Gasing any applicable General Aggregate Limit or per occurrence Limit, the Medical Expense Limit
in Coverag

> is $10,000 per person unless a greater amount is shown in the Declarations.
SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS - is revised as follows:

1. Knowledge of Occurrence. The following is added to Paragraph 2. Duties In The Event Of Occurrence,
Offense, Claim Or Suit.

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. . . _ EXHIBIT "A"
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COMMERCIAL GENERAL LIABILITY

When you or any other insured know or should know that there has been an "occurrence" or offense which

may result in a claim or "suit" to which this insurance may apply, you must notify us as soon as practicable,

and such duty to give us notice shall be deemed to have been triggered when facts sufficient to believe an

“occurrence” or offense has occurred becomes known to:

(1) You, if you are an individual;

(2) A member or partner, if you are a partnership or joint venture;

(3) A member or manager, if you are a limited liability company;

(4) An “executive officer" or director, if you are an organization other than a partnership, joint venture or
limited liability company;

(5) A trustee, if you are a trust;

(6) Your insurance manager;

(7) Your legal representative if you die or dissolve;

(8) Any person claiming coverage or seeking benefits under the policy; or
(9) Any member, partner, manager, "executive officer", director, or trustee of any orga
liability company, corporation, partnership, joint venture or trust claiming covet

under the policy. a» @

 
 

insured under your policy provided that:

(1) The additional insured is a Named Insured under such oth “San e; and
(2) You have agreed in writing in a contract or agreement t ais INSurance would be primary and would not
seek contribution from any other insurance available ta,th itional insured.

  
   
   

3. Transfer Of Rights Of Recovery. The following | sa a Paragraph 8. Transfer Of Rights Of Recovery

Against Others To Us.
We waive the rights of recovery we may, ave b > ‘ause of payments we make for injury or damages arising
out of:

a. Your ongoing operations or "your " rk" done under a contract with a person or organization and included
in the "products-completed op s hazard"; or
b. The ownership, maintenance or use of that part of a premise leased to you.

 

Our rights may not be waived except if waived in writing by us prior to the "occurrence" giving rise to the
injury or damage@or which’ we make payments under this Coverage. The insured must do nothing after
the loss to impair op P rejudice our rights and must do whatever we deem necessary to enable us to
exercise _ At our request, the insured shall bring "suit" against liable parties or transfer those
rights to u

4. Liberali he following is added:

   

If we revise this version of this General Liability Extra Coverage Endorsement to provide more coverage
without additional premium charges, this endorsement will automatically provide the revised coverage as of
the day the revision is effective in the state in which you reside.

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COMMERCIAL GENERAL LIABILITY

5. Unintentional Failure to Disclose. The following is added:

An unintentional failure to completely describe or unintentional error or omission in the description of any
premises or operations intended by you to be covered by this Commercial General Liability Coverage Form will
not invalidate coverage for those premises or operations. An unintentional error, omission or failure must be
reported to us as soon as practical after it is discovered.

ALL OTHER TERMS AND CONDITIONS OF THE POLICY AND ENDORSEMENTS REMAIN UNCHANGED.

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